                               LaGrange High School
                                      516 North Gl'eenwood Street
                                         LaGrange, GA 30240
!'hoot ('lOO} ~UMGOO                                                          Alton White, Printfp:11
rlX {7CG) 31:t-79'16                                                          J;imas nozo111a11, Asslsl'llnt Prlntlpal
                                                                              .hlff Ltttlo, Afsf~lnnt Ptb1clp11f
                                                                              Juha Stodghill RQ;tstrnr/Asli!Stnot PrJnclf!»I
                                                                              l(uy Tl'lll111pson, /\111$1.ant Prlnclp~l(CTAI:


                                                                         September 3, 2019




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LnGrnuge High School "R"
Snrt\ Ford ~ .Prirent/Gunrclian
                                                                          Cru1e # 003-4663 6-2




!!!,Rl40
l'hone:
Date o

Deut·   rtlllllllllrll and Si1ra Ford,
You are hereby notified as Pxin.cipaJ of LaQpmge High School, l hereby ohnrge ·F · -
-     a 17 yeru; old 11 11t grade :!(Udeut of LaOra:ngt, High Si;hool> with violittion of the policy of
The f:r<rup Co\lui'y Board ofEdu('.atlon :ts follows:

CHARGl!~ 1

7,10 ~icim,Jfo!l il~ Gnug A..1;1.i'¥UX (Mandatory .Hearing Offen.,;~) • No student shall actively
J3Hrticipate in any sti:e~t gang with knowledge that its members ~ngage in or b.ave engag,~ in a
pattern of g.a11g activily and wllo willfully J)romote-s1 :l:\.1rther~. 01· nssh,ts iu any criminal conduct or
violation of sch0ol nlles, 01· represenlr. himself or herself as bt1ing, a gang member.

C1{ARGE2

l2.08 Outside Con.~luct ~ A stude1:1!. who eommits any act or exhibits conduct outside ·of scl1ool
hours or away from sqhool which may adyer~ely a11Cl'.:t the i;:ducntional prnce.<:s or endanger t11e
bealt11, propetty, safety, morals, or wcll-btiing of other ~tudents, teachers, OT employeei. within lbe
school system may be disciplined h(;ll-etmder.
                                                                                                      ~ PLAINTIFF'S
                                                                                                     .~   EXHIBIT
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                                                                                                                   41")
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September 3,2019
Page 2 of 4


TS:E BASIS OF THE CHARGE/CHARGES ARE AS FOLLO\VS:
                                                                  '

CB.ARGE 1:

The basis of the charge is that - -            W,
                                                a t 7 year old 11th grade student at
LaGrange High School, did nllegedly commit the offense of P:ll'ticipntion in Gang Activity in u
video published to YouTube on or about Saturday, July 13, 2019. In this video,    ia--
~ is seen doing handshakes and signs that appeal' to be gang related. Dul'ing the w ~ l y
15 ·', LHS administration contacted a member of the Special Investigations Unit of the LaGnmge
PoUce Depat'trnent who identified them as gang handshukes mi.d signs. On Wednesday, August 14,
2019, and Friday, August 16, 2O19~ LHS administrators met with a 1·epresentative of the Speeial
Investlgation Unit of the LaGmnge Police Department (LPD) who again identified the specific
signs as gang related.

CHARGE 2:

The basis of the charge is that E■-            -    a 17 year o Id 11th grnde student at
LaGrange High School, did allegedly commit the offense of Outside Conduct in a video
published to YouTubc on or about Saturday, July 13, 2019. The video depicted      111    using several
signs and bnudshakes that were identified. by a representative oflhe Special Investigation U nit of
the LaGrange Police Department as gr:mg related, and also in possession of a handgun that was
identified by a member of the Special Investigation Unit of the LaGrange Police Department as
being a real handgun. LHS administrators met with n reprcsen.lative of the Special Investigation
Unit of the LaGrange Police Department on Wednesday, August 14, 2019, and Friday, August 16,
2019, who identified the item as a real handgun based on. physical characteristics.


The nnmcs of tl1e. 1-vitnooses nnd a summa.1-y of cvidcucc cx1>ccted to be used iu suppol't of
th0 ch.:u·gcs are isS follows:

Mr. Alton White; Principal ofLaGrange High School, will bri11g charges and present video
evidence obtained from YottTube at 1his web address:
https;Hwww.you1.!Jl')~.com/yyJ!.t&h'.lY=f<1'JcS6KLQ®,

Mr. Jmues Bozeman, Assistant Principal of LaGrange High School, will testify as follows:

While looking tlmmgh Facebook on the weekend of Juiy 12- l 4, I came across a video that had
been posted, l noticed that the video contained current and possibly former students that attended
Lagrange High School. Whe11 J arrived to school OH Monday I mentioned the vid eo to Mr. White}
LHS Principal. At that time I sent him a youtube link for the video.
1·-·
September 3, 2019
Page 3 of 4


Officer Lano Hnmct·, LaGrange Police Depa1tment, will testify as follows:

011 07/15/2019 I received a video tex1.111essage from LBS Prinoi1,al (Alton White) that shows~ mp
video with at least two of LHS students, flashing whl\t appear to be gang signs. I the.n forwarded
this video to Sll..J gang task force Investigator Janod Anderson for their input.

Detective ,la1-rod Anderson, Spe.ciru Investigation Unit of the LaGrange Police Department, will        . !
testify as follows:

I viewed several You1\ ibe videos that depicted - - - in possession oflmnd guns. J was able
to identify the weapons as real based 011 several physical characteristics. He is also engaged in use
of ga~g signs that include hru.1dshakes representing his membetship in a gang.

A HEARING BY A DISCIPLINARY HEARING TRIBUNAL WILL BE HELD ON
Wll~DNESDAY, SEPT.IBMBJCR 4, 2019 AT 10:00 AM, lN MEETING ROOM 1 01? THE
ADMINlSTRATlVE SERVIClCS CENTER, 100 NORTH DAVIS ROAJ), BLJ)G. C,
LAGRA'NGI~, G.EORGfA,


The maximum penalty, which may be administered for the conduct alleged lo bave occurred, is
Permanent expulsion from the Troup County School System.

You arc further uotified that before lo)li::!!l'm suspension or expulsion can be imposed by
the Hearing T r i b u n a l , ~ W l~ e.ntitfod to mul has file right to hnvc n
he:ning bofore The Heuring Tribunal 11s schc.dulcd above. This hearing may be waived if
the student and Snrn Ford ngri.'.e to wnive such hearing by furnishing 11 signed statement to
tbnt effect to me.

Fot· your hlfcmnation) a copy of the Troup County Board of Education Policy JCDAwR, JDD and
JCDA governing the student hearing procedure is enclosed herewith.

This notice is given to you so that you rnny be present at the hearing and stlbmit your evidence
relating to the charges.

In nddition, you nre entitled to be represented hy cmmsel of your clloos.i ng nt this hearing,
nncl to o.-x:nminc and c1·os1Mixamine the witucssos testifying. It you c.:hoo:w to hove nn
attorney present at the henring1 please notif), the Diredo:r o:f Student Services nt
706~812~7900, no less tlum 24 hours prior to the hearing. J?nilnrc to notify inay result in a
postponement of th.is disciplinary hearing, Y O\l ntc further notifi<:d lhM upon request
rnt1de to me, you ure entitled to hnvc subpoenas issuecl to compel the nttcndnncc of
witnesses 11nd to compel the r•roduction of docmncntnry evidcutn on your behalf.
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September 3, 2019
Page4 of 4


Due to our limited space, .it is requested the parents of the studc11t who is to be seen by the
tribunal, nccom_pany him/her only. Tne facilities cannot adequately meet lbe needs for young
child1·en 1 infants oi· additional people nol Dll~ECTLY .requested to be present. This is lo ensure
the safety needs of our students and their families. We appreciate your compliance with our
request.



u
Alton White, Principal
LaGrange High School
cc~ Jacqueline Jones, Tribunal Chairman
Enclosure
